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                      UNITED STATES DISTRICT COURT
                      FOR ТНЕ DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

              v.

GEORGE PAPADOPOULOS,                     Crim. No. 17-182 (RDM)


                            Defendant.



                     UNOPPOSED MOTION FOR
              PROTECTIVE ORDER GOVERNING DISCOVERY

      Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure, the United

States of America,   Ьу   and through Special Counsel Robert S. Mueller,   ІІІ,   hereby

respectfully moves the Court for entry of а protective order governing the production

of discovery in the above-captioned case. Entry of а protective order restricting the

use, dissemination, and disposition of discovery materials is essential to permit the

United States to provide certain discovery to the defendant, which the defendant has

requested in advance of his sentencing proceeding, while protecting among other

things investigative information and other confidential materials. The United States

has conferred with counsel for the defendant, and the defendant consents to this

motion and entry of the attached protective order.
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      WНEREFORE,      the govemment respectfully moves the Court to enter the

proposed Protective Order Governing Discovery.

                                             Respectfully вubmitted,

                                             ROBERT S. МUELLER ІІІ
                                             Special Counsel

Dated: August 1.}, 2018       Ву:      /в/
                                             Jeannie S. Rhee
                                             Andrew D. Goldstein
                                             Aaron S.J. Zelinвky
                                             Тhе Special Counвel's Offi.ce
                                             (202) 616-0800




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                      UNITED STATES DISTRICT COURT
                      FOR ТНЕ DISTRICT OF COLUМBIA

UNITED STATES OF АМЕRІСА

               v.

GEORGE PAPADOPOULOS,                     Crim. No. 17-182 (RDM)


                           Defendant.




               PROTECTIVE ORDER GOVERNING DISCOVERY

        Upon the unopposed motion of the government, pursuant to Fed. R. Crim.          Р.


16(d), it is hereby ORDERED:

        1.    All of the materials provided Ьу the United States in preparation for, or

іп   connection with, any stage of the proceedings in this case (collectively, "the

materials") are subject to this protective order and may       Ье   used   Ьу   defendant,

defendant's counsel, and legal experts (defined as the Defense) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court. Before providing materials to

any member of the Defense, each must Ье provided with а сору of this Order and that

person must agree in writing to abide Ьу the terms of this Order.

        2.    The Defense shall not share or provide the materials or their contents

directly or indirectly to any person or entity other than persons who are interviewed

as potential witnesses, counsel for potential witnesses, and other persons to whom

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the Court may authorize disclosure (collectively, "authorized persons"). Potential

witnesses and their counsel may    Ье   shown copies of the materials as necessary to

prepare the defense, but may not retain copies or create copies without prior

permission of the Court.

      3.     The Defense shall not сору or reproduce the materials except in order to

provide copies of the materials for use in connection with this case      Ьу   the Defense.

Such copies and reproductions shall Ье treated in the same manner as the original

materials.

      4.     The Defense and authorized persons shall not disclose any notes or

records of any kind that they make in relation to the contents of the materials and all

such notes or records are to Ье treated in the same manner as the original materials.

      5.     Before providing materials to an authorized person, the Defense must

provide the authorized person with   а сору   of this Order and that person must agree

in writing to abide Ьу the terms of this Order.

      6.     Upon conclusion of this criminal case, all of the materials and all copies

made thereof shall Ье disposed of in one of three ways, unless otherwise ordered Ьу

the Court. The materials may Ье (1) destroyed; (2) returned to the United States; or

(3) retained in defense counsel's case file. The Court may require   а   certification as to

the disposition of any such materials. In the event that the materials are retained Ьу

defense counsel, the restrictions of this Order continue in effect for as long as the




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materials are so maintained, and the materials may not Ье disseminated or used in

connection with any other matter without further order of the Court.

      7.     То   the extent any material is produced       Ьу   the United States to the

Defense Ьу mistake, the United States shall have the right to request the return of

the material and shall do so in writing. Within seven days of such         а   request, the

Defense shall return all such material if in hard   сору,   and in the case of electronic

materials, shall certify in writing that all copies of the specified material have been

deleted from any location in which the material was stored.

      8.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials.




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      9.       Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.




SO ORDERED the _ _ of August, 2018



                                  The Honorable Randolph D. Moss
                                  United States District Judge


SO STIPULATED:




       Date: Wt3(ЬI~




       Date~          ;)t}J


       Date:   efq// fj

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